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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 18-24190-CIV-SMITH


   WILLIAM O. FULLER and
   MARTIN PINILLA II,


                  Plaintiffs,

   vs.


   JOE CAROLLO,

                  Defendant.
                                                   /

                                         FINAL JUDGMENT

         Pursuant to the Jury Verdict entered on June 1, 2023, it is hereby

         ORDERED that judgment is entered in favor of Plaintiff William O. Fuller, and against

  Defendant, Joe Carollo, in the amount of $34,300,000.00, with interest at the statutory rate from

  the date of this judgment, and judgment is entered in favor of Plaintiff Martin Pinilla II, and against

  Defendant, Joe Carollo, in the amount of $29,200,000.00, with interest at the statutory rate from

  the date of this judgment. For all of the foregoing execution shall issue.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 1st day of June, 2023.


                                                 ________________________________
                                                 RODNEY SMITH
                                                 UNITED STATES DISTRICT JUDGE

  cc:    All counsel of record
